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:

Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)

United States Courts
Southern District of Texas
vu

UNITED STATES DISTRICT COURT AUG 23 2021

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Plaintiffs)
(Write the full name of each plaintiff who is filing this complaint.
Of the names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional
_ page with the full list of names.)

-V-

Ibert Conibe ‘ Lenthhe Office.

. Defendant(s)
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above. please
write “see attached” in the space and attach an additional page
with the full list of names. Do not include addresses here.)

for the

District of

Nathan Ochsner, Clerk OF Coin}

 

- Division
Case No.

(to be filled in by the Clerk’s Office) :
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COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
(Prisoner Complaint)

 

 

NOTICE

Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
electronic court files. Under this rule, papers filed with the court should nof contain: an individual’s full social
security number or full birth date; the full name of a person known to be a minor; or a complete financial account
number. A filing may include on/y: the last four digits of a social security number; the year of an individual’s
birth; a minor’s initials; and the last four digits of a financial account number.

Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
other materials to the Clerk’s Office with this complaint.

In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in

forma pauperis.

 

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L The Parties to This Complaint

A. The Plaintiff(s)

Provide the information below for each plaintiff na

needed,

Name

All other names by which
you have been known:

ID Number

Current Institution
Address

The Defendant(s)

Provide the information below for each defendant 1
individual, a government agency, an organization,
listed below are identical to those contained in the
the person’s job or title (if known) and check whether
individual capacity or official capacity, or both.

Defendant No. 1
Name
Job or Title (if known)
Shield Number
Employer
Address

Defendant No. 2
Name
Job or Title (if known)
Shield Number
Employer
Address

Kerth.

 

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med in the complaint. Attach additional pages if
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named in the complaint, whether the defendant is an
or a corporation. Make sure that the defendant(s)
above caption. For an individual defendant, include
you are bringing this complaint against them in their

Attach additional pages if needed.

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Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)
Defendant No. 3
Name _
Job or Title (if known)
Shield Number
Employer _
Address an
City State "Zip Code
L_] Individual capacity [_] Official capacity /
i
Defendant No. 4 )
Name
Job or Title (if known) _
Shield Number
Employer
Address
City State Zip Code
[_] Individual capacity [_] Official capacity

Basis for Jurisdiction

Under 42 U.S.C. § 1983, you may sue state or local officials for the “deprivation of any rights, privileges, or

immunities secured by the Constitution and [federal laws].’. Under Bivens v. Six Unknown Named Agents of

Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain

constitutional rights.

A. Are you bringing suit against (check all that apply):

[] Federal officials (a Bivens claim)
State or local officials (a § 1983 claim)

B. Section 1983 allows claims alleging the “deprivation of any rights, privileges, or immunities secured by
the Constitution and [federal laws].” 42 U.S.C. § 1983. If you are suing under section 1983, what
federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?

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C. Plaintiffs suing under Biven“inay only recover for the violation of cétain newts © fights, If you
are suing under Bivens, what constitutional right(s)/do you claim is/are being violated by federal
officials?

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IV.

 

D. Section 1983 allows defendants to be found liable
statute, ordinance, regulation, custom, or usage, of

only when they have acted “under color of any
any State or Territory or the District of Columbia.”

42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color

of state or local law. If you are suing under Bivens,
oO law. Attach ee ‘ pages if a

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explain how each defendant acted under color of

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Prisonér Fa AV OCC RAKE eh eNG )

Indicate whether you are a prisoner or other confined perso

L]

Pretrial detainee
Civilly committed detainee
Immigration detainee

Convicted and sentenced state prisoner

OoOoOod

Convicted and sentenced federal prisoner
Statement of Claim

State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the

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h as follows (check all that apply):

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alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
further details such as the names of other persons involved in the events giving rise to your claims. Do not cite

any cases or statutes. If more than one claim is asserted, nur
statement of each claim in a separate paragraph. Attach add

ber each claim and write a short and plain
itional pages if needed.

A, If the events giving rise to your claim arose outside an institution, describe where and when they arose.

 

B. lf the events giving rise to your claim arose in an institution, describe where and when they arose.

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C, What date and approximate time did the events giy

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te ao ~ Xz. 203.4

What are the facts underlying your claim(s)? (For
Was anyone else involved? Who else saw what haj

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whe? CDVID ~\A ASP
“ne the Jol Lait Aye

If you sustained injuries related to the events alleged ab
treatment, if any, you required and did or did not receive.

D.

Injuries

L pray. Wat 1 heve= tty

Relief

State briefly what you want the court to do for you. Make no
If requesting money damages, include the amounts of any ad
the acts alleged. Explain the basis for these claims.

aw seeking, damages 4

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ing rise to your claim(s) occur?

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example: What happened to you? } Fe did what?
ppened?)

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describe your injuries and state what medical

T tracted chy other uses,

legal arguments. Do not cite any cases or statutes.
tual damages and/or punitive damages claimed for

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VIL Exhaustion of Administrative Remedies Administrative

The Prison Litigation Reform Act (“PLRA”), 42 U.S.C. § 1
with respect to prison conditions under section 1983 of this
in any jail, prison, or other correctional facility until such a
exhausted.”

Adtninistrative remedies are also known as grievance proc¢
exhausted your administrative remedies.

A. a arise while you were confined in
Yes

[] No

If yes, name the jail, prison, or other correctional ff
events giving rise to your claim(s).

Pevis Couttlig. Shes
ot

B. Does the jail, prison, or other correctional facility
procedure?

[] Yes
[_] No

Do not know

C, Does the grievance procedure at the jail, prison, or
cover some or all of your claims?

[_] Yes

[] No
boner knom

If yes, which claim(s)?

Procedures

997e(a), requires that “[nJo action shall be brought
title, or any other Federal law, by a prisoner confined

ministrative remedies as are available are

dures. Your case may be dismissed if you have not

a jail, prison, or other correctional facility?

acility where you were confined at the time of the

pitt rbhice. Cre Coty, Jail

where your claim(s) arose have a grievance

other correctional facility where your claim(s) arose

 

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D. Did you file a grievance in the jail, prison, or othe correctional facility where your claim(s) arose
concerning the facts relating to this complaint?

L] Yes

Ko

If no, did you file a grievance about the events described in this complaint at any other jail, prison, or
other correctional facility?

C] Yes

No

E. If you did file a grievance:

1. Where did you file the grievance?

 

2. What did you claim in your grievance?

 

3. What was the result, if any?

 

4. What steps, if any, did you take to appeal that decision? Is the grievance process completed? If
not, explain why not. (Describe all efforts to appeal to the highest level of the grievance process.)

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A.

C.

Have you filed other lawsuits in state or federal court dealing with the same facts involved in this

action?

[] Yes-

Ko

If your answer to A is yes, describe each lawsuit b
more than one lawsuit, describe the additional lay

1. Parties to the previous lawsuit

Plaintiff(s)

suits on another page, using the same format.)

y answering questions 1 through 7 below. (Jf there is

 

Defendant(s)

2. Court (if federal court, name the district; if state court, name the county and State)

 

3. Docket or index number

 

4, Name of Judge assigned to your case

 

5. Approximate date of filing lawsuit

 

 

6. Is the case still pending?
| Yes
[| No

If no, give the approximate date of disposition

7. What was the result of the case? (For example:

in your favor? Was the case appealed?)

 

 

 

AJ =4

 

 

 

LY

Was the case dismissed? Was judgment entered

 

Have you filed other lawsuits in state or federal court otherwise relating to the conditions of your

imprisonment?

 

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Yes
LC] No

   
  
 
  

If your answer to C is yes, describe each lawsuit by answering questions I through 7 below. (if there is
more than one lawsuit, describe the additional lawsuits on another page, using the same format.)

1. Parties to the previous lawsuit .
Plaintiff(s) Beit The Wo eyega lL. =
Defendant(s) tte Le he S. Cough, Shere | Say Oteicd Cuil a if

Court (if federal court, name the district; if state court, name the county and State)

Haros Conus 1 Tcl Court

3. Docket or index number

tw

4. Name of Judge assigned to your case

rR

5. Approximate date of filing lawsuit J f

 

6. Is the case still pending?

C7 Yes

No

    
  

Wh

Was the case dismissed? Was judgment entered

If no, give the approximate date of disposition

7. What was the result of the case? (For example:
in your favor? Was the case appealed?)

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F. If you did not file a grievance:

 

1. Ifthere are any reasons why you did not file a grievance, state them here:

 

2. If you did not file a grievance but you did infarm officials of your claim, state who you informed,
when and how, and their response, if any:

 

 

 
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IX. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below,

and belief that this complaint: (1) is not being presented for
unnecessary delay, or needlessly increase the cost of litigati
nonfrivolous argument for extending, modifying, or reversit
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the

requirements of Rule 11.

I certify to the best of my knowledge, information,
an improper purpose, such as to harass, cause

bn; (2) is supported by existing law or by a

g existing law; (3) the factual contentions have

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

A. For Parties Without an Attorney
I agree to provide the Clerk’s Office with any changes to my address where case-related papers may be
served. J understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case. . ,
-, ,
Date of signing: al tt Teles S OF} J; ‘Gn /; 2084
CN
Signature of Plaintiff K a) O
Printed Name of Plaintiff ‘ 2 fe Vletinew 5 eC Os—
Prison Identification # OO 49 2.5 LC D ;
Prison Address MOL [ ; , S Cu tac [i
Hrustrm Texas "7802.
City State Zip Code
B. For Attorneys
Date of signing:
Signature of Attorney
Printed Name of Attorney
Bar Number
Name of Law Firm
Address
Civ State Zip Code
Telephone Number

 

E-mail Address

 

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